Case 8:04-cr-00348-CEH-TGW Document 934 Filed 12/15/10 Page 1 of 2 PageID 3532




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION



 RONALD J. TRUCCHIO


 v.                                                           Case No.: 8:10-cv-2743-T-24 TGW
                                                                        8:04-cr-348-T-24 TGW
 UNITED STATES OF AMERICA

                                        /

                                             ORDER

        This cause is before the Court upon Petitioner Trucchio’s motion to vacate, set aside, or

 correct an allegedly illegal sentence pursuant to 28 U.S.C. Section 2255. (CV Doc. No. 1; CR

 Doc. No. 932). However, Petitioner did not use the required form for his motion, AO Form 243.

 Furthermore, Petitioner did not specifically explain his ground for relief. Instead, he made the

 following vague assertions:

        Petitioner asserts that he is in custody in violation of the Constitution and laws of
        the United States because newly discovered evidence disproves the central
        premise of the government's case against him and the evidence upon which his
        sentence is based. Thus, it is probable that the results would be different if he
        were retried and/or re-sentenced. More specifically, newly discovered evidence
        proves that Petitioner's conviction is based upon the perjured testimony of
        cooperating witnesses who lied regarding Petitioner's authority over their actions
        and consequent responsibility for their crimes. In addition, a portion of the newly
        discovered evidence is exculpatory in nature, was in the government's possession
        prior to trial, and was not produced to Petitioner. The facts and legal arguments
        supporting this claim are set forth more fully in the accompanying memorandum
        of law and are incorporated by reference herein.

 (CV Doc. No. 1, p. 3, ¶ 12). Finally, despite stating that his argument was set forth more fully in

 an accompanying memorandum of law, no such memorandum was filed.

        Given these deficiencies, there is no way for this Court to determine if the motion is
Case 8:04-cr-00348-CEH-TGW Document 934 Filed 12/15/10 Page 2 of 2 PageID 3533




 timely. This motion was not filed within one year after Petitioner’s conviction became final, as

 the motion would have to have been filed by October 20, 2009.1 While Petitioner contends that

 the motion was filed within one year after the new evidence was discovered, the Court does not

 have sufficient information before it to determine if that is correct.

        Accordingly, the Court denies the motion without prejudice and directs Petitioner to re-

 file the motion by January 7, 2011 on the appropriate form, which is attached to this Order.

 Additionally, Petitioner is directed to specifically identify and explain his ground for relief and

 to give the Court sufficient information to determine whether the motion is timely filed. Failure

 to comply with this Order will result in this Court closing the civil case without further notice.

        DONE AND ORDERED at Tampa, Florida, this 15th day of December, 2010.




 Copies to:
 All Parties and Counsel of Record




 Attachment: AO Form 243




        1
        The Supreme Court denied Petitioner’s petition for writ of certiorari on October 20,
 2008. Trucchio v. U.S., 129 S. Ct. 477 (2008).

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